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                        IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF OREGON

                                   PORTLAND DIVISION

UNITED STATES OF AMERICA,                         Case No. 3:12-cv-02265-SI

       Plaintiff,                                 AUGUST 2024 FAIRNESS HEARING
                                                  REPORT OF THE ALBINA
v.                                                MINISTERIAL ALLIANCE
                                                  COALITION FOR JUSTICE AND
CITY OF PORTLAND,                                 POLICE REFORM

       Defendant.

                                             Introduction

       The Albina Ministerial Alliance Coalition for Justice and Police Reform (“AMA

Coalition”) hereby submits its report for the upcoming August 29, 2024, Fairness Hearing, where

the community and parties can give feedback for the Court to assess whether the City of Portland

and United States Department of Justice (USDOJ)’s proposed amendments to Section VIII of the

Settlement Agreement are fair, adequate, and reasonable.

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       The AMA Coalition continues to affirm the City’s progress on many of the issues before

the Court and in the Settlement Agreement. However, the AMA Coalition believes that we have

still not achieved a 21st Century community police force that offers public safety and trust to the

most vulnerable citizens in our City. The AMA Coalition’s primary focus for this fairness

hearing is celebrating movement towards a more independent Community Board for Police

Accountability—which Portland voters approved by overwhelming majority in 2020—while

reiterating the concerns it has raised to this Court, the City, and the USDOJ.

       The AMA Coalition holds concerns about several provisions in the Section VIII

Amendments, as well as the process by which those Amendments were reached.

       A. Mandatory ride-alongs will deter community participation.

       Paragraph 131 a.iii. mandates that Community Board members go on ride-alongs with

PPB patrol and participate in PPB’s Community Academy. As pointed out several times to the

City and USDOJ, many people who would otherwise be interested in serving on the Community

Board have approached the AMA Coalition to share that, while they would feel comfortable

undergoing training to serve in that role, they simply do not feel comfortable riding or walking

along with armed police officers or participating in Community Academy. Those potential

Community Board members expressed that their discomfort with participating in those activities

arises from their past experiences with police, or from their concerns about the impact it could

have on the community members they are supposed to be serving in this exciting new role. The

AMA Coalition has noted that the exact nature of Community Board member trainings need not

be listed in the Agreement or in the City Code. If they are listed, however, language should be

included to provide "or alternative educational opportunities." The City declined to take AMA

Coalition’s feedback. As a result, willing and qualified community members who could bring an

important perspective to the Community Board will now be excluded from this opportunity.

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       B. “Bias for or against the police” is too vague and susceptible to
          (mis)interpretation.
   The AMA Coalition strongly believes the prohibition on “bias for or against the police” in

Paragraph 131 b.vii. is inappropriate. More precise language requiring Community Board

members to “exercise independent judgment” and be “fair, reasonable, objective, and act

consistent with applicable laws, rules, policies, and procedures” is more appropriate; such

language is already used in the proposed City code definition of “Independent Judgment” at

[proposed] Portland City Code 35A.020. The AMA Coalition is concerned that the current bias

language may invite litigation about whether removing someone for purportedly having bias

violates the First Amendment. Similar litigation arose in Boulder, Colorado. See

https://boulderreportinglab.org/2024/03/11/boulder-police-oversight-panel-lawsuit-city-argues-

free-speech-limits-on-panel-member-were-justified-in-new-motion/.

       C. Concerns with City Code Implementation

       Relatedly, the AMA Coalition strongly advocates that the Community Board should not

be stacked with people unwilling to hold police accountable, or who are not fair, just, or

reasonable. While the current City Charter prohibits current and former law enforcement and

their families from serving, the City Code implementing the Oversight System provides for no

fewer than three police designees on the nominating committee, which will change the makeup

of the community-led system. The AMA Coalition prefers there not be three police designees on

the nominating committee but believes that, regardless of the makeup of that committee, the

Independent Court Monitor should observe the deliberations for nominations for both

Community Board membership and nomination of the Director.

       Similarly, the City Code does not, but should, provide for all cases involving community

members to be investigated by the new system. The DOJ’s initial findings report critiqued the


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current “byzantine” system for confusion caused by "bifurcating" complaints to IPR and Internal

Affairs. This is a chance to improve community perception and relationships, and it will be

difficult to expand the Community Board’s jurisdiction later if, early on, people avoid the new

system due to the perception that their complaints are not being handled independently of the

Police Bureau. Because the Charter allows the Community Board to review cases "as they see

fit," the new Board should not have to go to the City Council to expand its jurisdiction. This will

also be seen as a weakening of the system and an opening for City Council to interfere with the

judgment of the Community Board.

                                            Conclusion

       As the AMAC noted in its November 2023 status report, the Police Accountability

Commission (“PAC”) proposed a comprehensive framework for the new oversight system,

which the City significantly altered—without appropriate deference to, and without conversation

with, the PAC. The AMA Coalition expressed deep concern about dilution of the PAC’s

proposed framework and the oversight board itself. The AMA Coalition will continue to support

transformative change within the Portland Police Bureau that will lead to safety of all community

members and the building of community trust and the creation of a truly 21st Century Portland

Police Bureau. We will continue to work and collaborate with the USDOJ, City, PPA, MHA and

community stakeholders to create a police force that is fair and just for all the Citizens of

Portland.

       DATED: August 26, 2024                 Respectfully submitted,

                                               /s/ J. Ashlee Albies
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